                                Case 10-18337      Doc 62      Filed 08/05/10    Page 1 of 6




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
                                             (Baltimore Division)

            In Re:                                         *

            George T. Moran, Inc.,                         *      Case No. 10-18337-RAG

                                   Debtor.                 *      (Chapter 11)

                                                           *
            *        *      *      *       *       *       *      *       *       *       *       *


                          REPLY OF NATIONWIDE MUTUAL INSURANCE COMPANY
                          TO THE RESPONSE OF CHIEF RESTRUCTURING OFFICER
                                   TO OBJECTIONS TO SALE MOTION

                     Nationwide Mutual Insurance Company (“Nationwide”), by and through its counsel,

            hereby submits its reply in support of its Partial Objection to the Motion for an Order

            Authorizing the Sale of Substantially All of the Debtor’s Assets Free and Clear of Certain Liens,

            Claims, Encumbrances, and Interests Under 11 U.S.C. Section 363(b) & (f) (the “Motion”), filed

            on July 9, 2010. For its reply, Nationwide states the following:

            Nationwide Is A Creditor Of The Estate

                     1.     The Chief Restructuring Officer (the “CRO”) states in a footnote of his response

            that he was “in frequent contact with the principal creditors in this case regarding the status of

            the sale process… .” He states that “Nationwide has not filed a proof of claim and does not state

            that it holds a claim against the estate in its Objection.” These statements are troubling,

            particularly in that Nationwide is a substantial creditor of the Debtor.

                     2.     Prior to the filing of the bankruptcy petition, the Debtor was the subject of a

            lawsuit that had been filed against it and its principals, Charles David Wallace (“David




3934169v1
                                 Case 10-18337       Doc 62     Filed 08/05/10      Page 2 of 6




            Wallace”) and Brenda Diane Tamariz Wallace (“Diane Wallace”) (the “Lawsuit”). As the CRO

            noted, the Wallaces filed a joint voluntary petition under Chapter 7 of the Bankruptcy Code on or

            about May 26, 2010. The CRO himself was appointed the Chapter 7 trustee in that case.

                      3.      The Lawsuit included a $2.3 million claim against Diane Wallace as the obligor

            of an unpaid loan. It included a fraudulent transfer claim against David Wallace as a result of

            Diane Wallace transferring one hundred percent of her shares in George T. Moran, Inc. to her

            husband for no consideration.

                      4.      But more importantly for the purposes of this matter, the Lawsuit included four

            claims against this Debtor for tortious interference and for unlawful use of Nationwide’s trade

            secret information. For reasons that remain unexplained, the Debtor only listed Nationwide as a

            creditor on schedule E, holding a priority claim for an employee pension contribution. That

            Nationwide has not yet filed a proof of claim in this bankruptcy case is disingenuous in view of

            the fact that the claims filing deadline is August 17, 2010.

                      5.      Nonetheless, it remains that prior to the filing of the bankruptcy petition,

            Nationwide was one of the most active creditors pursuing claims against both the Debtor and the

            principals of the Debtor. Diane Wallace had been deposed and others were set to be deposed on

            the eve of the filing of Debtor’s petition.

            “All Known Parties With An Interest In Purchasing The Debtor’s Book Of Business”

                      6.      The CRO states that he “and his professionals initiated discussions with all known

            parties with an interest in purchasing the Debtor’s book of business in order to allow the market

            place to determine the value of the Debtor’s business.”1 The CRO does not explain how he


            1   CRO’s Response, ¶ 14.


                                                                2
3934169v1
                              Case 10-18337       Doc 62     Filed 08/05/10     Page 3 of 6




            determined who would have an interest in purchasing the Debtor’s book of business. But more

            importantly, he does not explain why he did not invite Nationwide into that process even though

            (1) Nationwide had been one of the most active creditors of both the Debtor and the principals of

            the Debtor, and (2) Nationwide had already invested $2.3 million in the acquisition of the

            Debtor’s book of business by virtue of the $2.3 million loan it had provided to Diane Tamariz

            Wallace so that she could acquire the Debtor.

                   7.      Nationwide regularly funds the purchase of independent insurance agencies which

            is how Ms. Tamariz Wallace secured the financing for the purchase of the Debtor.

                   8.      As such, it remains unexplained why the CRO never “initiated discussions” with

            Nationwide.

                   9.      The CRO states that he required parties to execute nondisclosure agreements,

            presumably to allow them to perform due diligence. He indicates that one of the parties was

            given “a substantial amount of financial information and engaged in lengthy discussions with the

            CRO professionals regarding the issues surrounding the purchase of the Debtor’s book of

            business.”

                   10.     Yet, there is nothing in the bidding procedures described in the Debtor’s Motion

            for Order to Approve the Sale that allows a “competing bid” to secure the same type of

            “substantial amount of financial information” that was apparently provided to the parties that the

            CRO had invited into the bidding process. Rather, the CRO only permits a “competing bid” to

            occur without any due diligence by “competing bidder.”

                   11.     The result of this is that the CRO has established a faux process for inviting

            “competing bids” by not allowing for the same transmission of “a substantial amount of financial



                                                             3
3934169v1
                               Case 10-18337      Doc 62     Filed 08/05/10      Page 4 of 6




            information” to other parties that might be interested in submitting a bid. That is, he requires a

            competing bidder to submit a bid in excess of $1.494 million (the current bid plus a $25,000

            break-up fee) on no information at all.

                    12.     Nationwide has determined that it very much wants to submit a bid in excess of

            the current proposal, subject to its own ability to review the same financial information provided

            to the other parties.

                    13.     Nationwide does not require several weeks to review such information and will

            timely submit a proposal within days, not weeks.

                    14.     Accordingly, in view of the additional information provided by the CRO in his

            response, Nationwide requests (1) that the bid deadline be extended to Wednesday, August 11,

            2010, (2) that the Debtor immediately provide the same information to Nationwide that it

            provided to other prospective purchasers as referenced in its response and subject to the same

            agreement of confidentiality, and (3) that the hearing for approval of the proposed sale be

            continued until August 13, 2010, or such other time proposed by the Court, in order to allow the

            Debtor to consider an anticipated proposal from Nationwide.

                    WHEREFORE, Nationwide respectfully requests the Court issue an order as described in

            the preceding paragraph.

                                                          Respectfully submitted,



            Date: August 5, 2010                          /s/ Mark F. Scurti
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                                                             4
3934169v1
            Case 10-18337   Doc 62   Filed 08/05/10   Page 5 of 6




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                                     5
3934169v1
                               Case 10-18337      Doc 62     Filed 08/05/10     Page 6 of 6




                                             CERTIFICATE OF SERVICE

                   I hereby certify that on the 5th day of August, 2010, a copy of the foregoing Reply was

            telefaxed, where applicable, and mailed first class, postage prepaid, to the following:

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            And served via electronic notification on all those who have entered an appearance in this

            bankruptcy case.


                                                          /s/ Mark F. Scurti
                                                          Mark F. Scurti (09475)




                                                             6
3934169v1
